Case 2:05-cV-02054-.]P|\/|-de Document 11 Filed 08/29/05 Page 1 of 2 Page|D 18

UNITED sTATEs DISTRICT coURT mBY--- _~_......M

WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

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OFTN m own
SEAN ANTHONY NEWBERG, JUDGMENT IN' A. CIVIL CA!@ 'MW'HS
Plaintiff,
ve
SHERIFF M.ARK LUTTRELL, et al., CASE NO: 05-2054 Ml/P
Defendants.

 

JUDGMENT

 

JUDGMENT BY COURT. This action having come before the Court for
Consideration, the issues having been considered, and a decision
rendered,

IT IS THEREFORE ORDERED, A.DJUDGED, AND DECREED that, in accordance

with the Order Correcting the Docket, Order Granting Leave to

Amend, Order Assessing $150 Filing Fee, Order of Dismissal, Order

Denying Appointment of Counsel, Order Certifying Appeal Not Taken

in Good Faith, and Notice of Appellate Filing Fee, entered August
q, 2005, this case is DISMISSED.

 

AP PROVED :

/a; OUWOM

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ON . MCCALLA
ED S'I‘ATES DISTRICT COURT

 

 

 

ng\_ 11 2095 THOMASM. aouLD
Date L,/ Clerk of Court

 

(By Déb'uty cl(§rk

Thls document entered on the docket sheet in compliance
with Ru|e 58 and/or ?9(3} FHCP on ' "

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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CV-02054 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

Sean NeWberg

SHELBY COUNTY JAIL
041 l 8656

201 Poplar Avenue
i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

